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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON
  TALCUM POWDER PRODUCTS                         Case No. 3:16-md-2738-MAS-
  MARKETING, SALES PRACTICES                     RLS
  AND PRODUCTS LIABILITY
                                                 MDL Case No. 2738
  LITIGATION
                                                 Motion Day: October 21, 2024

                                                 NOTICE OF DEFENDANT
                                                 JOHNSON & JOHNSON’S
                                                 SECOND MOTION TO
                                                 REMOVE BEASLEY ALLEN
                                                 FROM THE PLAINTIFFS’
                                                 STEERING COMMITTEE

                                                ORAL ARGUMENT
                                                REQUESTED

        PLEASE TAKE NOTICE that on September 27, 2024, the undersigned

  counsel will bring Defendant Johnson & Johnson’s Second Motion To Remove

  Beasley Allen From The Plaintiffs’ Steering Committee before this Court.

  Defendant will ask for entry of an order removing Beasley Allen from the Plaintiffs’

  Steering Committee in this MDL. Defendant requests that oral argument be held in

  connection with this motion.

  Dated: September 20, 2024                    Respectfully submitted,



                                               Stephen D. Brody
                                               D.C. Bar No. 459263
                                               O’MELVENY & MYERS LLP

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